        Case 3:25-cv-00171       Document 3-1       Filed 05/10/25   Page 1 of 28




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


M.A.P.S., on her own behalf and on behalf of
others similarly situated,

Petitioner–Plaintiff,

v.                                                          3:25-cv-0171
                                                   Case No. _______

ANGEL GARITE, in his official capacity as
Assistant El Paso Field Office Director for
U.S. Immigration and Customs Enforcement
and Warden of the El Paso Processing Center,
et al.,

Respondents–Defendants.


     PETITIONER-PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF A
                  TEMPORARY RESTRAINING ORDER




                                               1
           Case 3:25-cv-00171       Document 3-1        Filed 05/10/25      Page 2 of 28




                                        INTRODUCTION

         Petitioner-Plaintiff (“Petitioner”) respectfully requests an immediate Temporary

Restraining Order (“TRO”) to avoid irreparable harm to Petitioner and the putative class—and to

ensure that this Court is not potentially deprived, permanently, of jurisdiction. A court in this

District, in the related case, Sanchez Puentes v. Garite (No. 25-cv-127), currently has an injunction

against removals without proper notice pursuant to the Alien Enemies Act and Petitioner

respectfully requests that if that order is stayed, the Court grant a TRO for Petitioner and the

putative class in this action.

         In a Proclamation signed on March 14 and published on March 15, the President invoked

a war power, the Alien Enemies Act of 1798 (“AEA”), to summarily remove noncitizens from the

U.S. and bypass the immigration laws Congress has enacted. See Invocation of the Alien Enemies

Act (Mar. 15, 2025) (“Proclamation”). 1 The AEA permits the President to invoke the AEA only

where the United States is in a “declared war” with a “foreign government or nation” or a ‘foreign

government or nation” is threatening to, or has engaged in, an “invasion or predatory incursion”

against the “territory of the United States.” The Proclamation targets Venezuelan noncitizens

accused of being part of Tren de Aragua (“TdA”), a criminal gang, and claims that the gang is

engaged in an “invasion and predatory incursion” within the meaning of the AEA.

         On the evening of March 15, a D.C. District Court issued an order temporarily pausing

removals pursuant to the Proclamation for a provisionally certified nationwide class. J.G.G. v.

Trump, No. 25-5067, 2025 WL 914682, at *2 (D.C. Cir. Mar. 26, 2025). The D.C. Circuit denied

the government’s motion to vacate that TRO. On April 7, in a 5-4 decision, the Supreme Court

granted the government’s application to vacate the TRO order on the basis that those plaintiffs had


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    https://perma.cc/ZS8M-ZQHJ.


                                                 2
         Case 3:25-cv-00171        Document 3-1       Filed 05/10/25     Page 3 of 28




to proceed through habeas, without reaching the merits of whether the Proclamation exceeds the

President’s power under the AEA. In doing so, however, the Court emphasized that individuals

who are designated under the AEA Proclamation are “entitle[d] to due process” and notice “within

a reasonable time and in such manner as will allow them to actually seek habeas relief” before

removal. Trump v. J.G.G., 145 S. Ct. 1003, 1006 (2025).

       In light of the Supreme Court’s ruling, courts across the country have enjoined removals

and transfers of people who are detained in their districts and designated or at risk of imminent

designation as alien enemies pursuant to the Proclamation. See, e.g., J.A.V. v. Trump, No. 1:25-

CV-072, --- F. Supp. 3d ----, 2025 WL 1257450, at *20 (S.D. Tex. May 1, 2025); D.B.U. v. Trump,

No. 1:25-CV-01163-CNS, --- F. Supp. 3d ----, 2025 WL 1304288, at *10 (D. Colo. May 6, 2025);

G.F.F. v. Trump, No. 25 CIV. 2886 (AKH), --- F. Supp. 3d ----, 2025 WL 1301052, at *11

(S.D.N.Y. May 6, 2025); Sanchez Puentes v. Garite, --- F. Supp. 3d ---, 2025 WL 1203179, *17

(W.D. Tex. Apr. 25, 2025); A.S.R. v. Trump, --- F. Supp. 3d ----, 2025 WL 1208275, *4 (W.D. Pa.

Apr. 25, 2025).

       Despite the Supreme Court’s clear instructions, the government has since made one other

known attempt to remove a large number of individuals under the Proclamation without

meaningful notice. From April 17 to 18, the government gave detained people at Bluebonnet

Detention Center in Texas an English-only AEA designation form, not provided to any attorney,

which nowhere mentioned the right to contest the designation or removal. See Emergency Appl.

for an Emergency Inj. or Writ of Mandamus at 4–8, A.A.R.P. v. Trump, 145 S. Ct. 1034 (Mem.)

(filed Apr. 18, 2025). ICE officers told detained people that they would be removed on April 18.

Id. at 5; see also Cisneros Decl., J.A.V. v. Trump, No. 1:25-cv-00072 (S.D. Tex. filed Apr. 24,

2025), ECF No. 49-1 (attached as Exhibit A), at 5 (Form AEA-21B). Petitioners’ counsel in that




                                               3
          Case 3:25-cv-00171          Document 3-1        Filed 05/10/25       Page 4 of 28




case sought relief from the district court, the Fifth Circuit, and the Supreme Court. Vehicles with

dozens of Venezuelan men that left the detention facility were turned around after those filings,

and the Supreme Court issued a stay on removals for the putative class in the Northern District of

Texas at 12:51 a.m. EDT on Saturday, April 19. A.A.R.P., 145 S. Ct. at 1034.

        After that order was entered, Respondents’ process for providing notice of AEA

designations was made public, although the government sought to keep it under seal. See Exh. A

(Cisneros Decl.); Oral Order, J.A.V. v. Trump, No. 1:25-cv-00072 (S.D. Tex., entered at 4:26 PM

CT, Apr. 24, 2025) (unsealing the declaration). Detained people must express an intent to file a

habeas petition challenging their designation within the first 12 hours or they can be removed; if

they express an intent to file a habeas petition, they are given 24 hours to actually file that petition,

Exh. A (Cisneros Decl.) ¶ 11.

        Petitioner has filed this habeas action following the Supreme Court’s order that those

designated as “alien enemies” must receive due process and the government’s subsequent actions

to designate individuals as alien enemies and rapidly remove them without meaningful notice. The

Proclamation is invalid under the AEA for multiple reasons.

        First, the Proclamation fails to satisfy the AEA’s statutory predicates because TdA is not

a “foreign nation or government,” nor is TdA engaged in an “invasion” or “predatory incursion”

within the meaning of the AEA. Thus, the government’s attempt to summarily remove Venezuelan

noncitizens exceeds the wartime authority that Congress delegated. Second, the Proclamation

violates both the Act and due process by failing to provide notice and a meaningful opportunity

for individuals to challenge their designation as alien enemies. Third, the Proclamation violates

the process and protections that Congress has prescribed for the removal of noncitizens in the

immigration laws, including protection against being sent to a country where they will be tortured.




                                                   4
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 5 of 28




       Accordingly, Petitioner moves the Court for a TRO for herself and the putative class

barring their summary removal under the AEA. 2 Upon information and belief, but for

intervention from this Court, transfer for removal is imminent because Petitioner was served

documentation alleging that she is an alien enemy and thus subject to removal under the

Proclamation. Immediate intervention by this Court is required if the existing injunction

entered in an individual habeas petition filed in this District against AEA removals is stayed.

It is especially necessary for members of the putative class given the government’s policy to

provide a mere 12 hours’ notice ahead of removal and 24 hours to file a habeas petition, which

does not provide sufficient time for a detained person to challenge their designation. And if there

is an unlawful removal, the government has taken the position that the courts would lose

jurisdiction and there would be no way to correct any erroneous removal. Indeed, in the

government’s rush to transfer individuals to El Salvador, the government has mistakenly deported

at least one Salvadoran man without legal basis and claims that individual cannot be returned. See

Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (Apr. 10, 2025). At least one other individual was

removed to El Salvador on March 15 in violation of a binding settlement agreement. J.O.P. v. U.S.

DHS, 2025 WL 1180191 (D. Md. Apr. 23, 2025). Declarations and news accounts suggest that

many, if not most, of the alleged TdA members sent to El Salvador pursuant to the Proclamation

at issue here were not in fact TdA members. See Pls.’ Mot. for Prelim. Inj., J.G.G., No. 25-cv-766-

JEB (D.D.C. Mar. 28, 2025), EF No. 67-1 at 3–7 (describing accounts and evidence of individuals

without ties to TdA).



2
  Petitioner does not seek to enjoin the President but the President remains a proper respondent
because, at a minimum, Petitioner may obtain declaratory relief against him. See, e.g., Nat’l
Treasury Emps. Union v. Nixon, 492 F.2d 587, 616 (D.C. Cir. 1974) (concluding that court had
jurisdiction to issue writ of mandamus against the President but “opt[ing] instead” to issue
declaration).


                                                5
         Case 3:25-cv-00171          Document 3-1       Filed 05/10/25      Page 6 of 28




       The TRO sought here does not seek to prohibit the government from prosecuting any

individual who has committed a crime. Nor does it seek release from immigration detention or to

prohibit the government from removing any individual who may lawfully be removed under the

immigration laws.

                          LEGAL AND FACTUAL BACKGROUND

I.     The Alien Enemies Act

       The AEA is a wartime authority that grants the President specific powers with respect to

the regulation, detention, and deportation of enemy aliens. Passed in 1798, the AEA, as codified

today at 50 U.S.C. § 21, provides:

       Whenever there is a declared war between the United States and any foreign nation
       or government, or any invasion or predatory incursion is perpetrated, attempted, or
       threatened against the territory of the United States by any foreign nation or
       government, and the President makes public proclamation of the event, all natives,
       citizens, denizens, or subjects of the hostile nation or government, being of the age
       of fourteen years and upward, who shall be within the United States and not actually
       naturalized, shall be liable to be apprehended, restrained, secured, and removed as
       alien enemies.

This Act has been used only three times in the country’s history and each time in a period of war—

the War of 1812, World War I, and World War II.

       The Act also provides that individuals designated as enemy aliens will generally have time

to “settle affairs” before removal and the option to voluntarily “depart.” 3 See, e.g., United States

ex rel. Dorfler v. Watkins, 171 F.2d 431, 432 (2d Cir. 1948) (“An alien must be afforded the

privilege of voluntary departure before the [AG] can lawfully remove him against his will.”).




3
 50 U.S.C. § 21 (providing for removal of only those “alien enemies” who “refuse or neglect to
depart” from the U.S.); id. § 22 (granting time for departure in accordance with treaty stipulation
or “where no such treaty exists, or is in force,” a “reasonable time as may be consistent with the
public safety, and according to the dictates of humanity and national hospitality”).


                                                 6
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 7 of 28




II.    Congress’s Comprehensive Reform of Immigration Law

       Following World War II, Congress consolidated U.S. immigration laws into a single text

under the Immigration and Nationality Act of 1952 (“INA”). The INA, and its subsequent

amendments, provide a comprehensive system of procedures that the government must follow

before removing a noncitizen from the U.S. See 8 U.S.C. § 1229a(a)(3) (INA provides “sole and

exclusive procedure” for determining whether noncitizen may be removed).

       As part of that reform and other subsequent amendments, Congress prescribed safeguards

for noncitizens seeking protection from persecution and torture. These protections codify the

humanitarian framework adopted by the United Nations in response to the humanitarian failures

of World War II. See INS v. Cardoza-Fonseca, 480 U.S. 421, 439-40 (1987); Aliyev v. Mukasey,

549 F.3d 111, 118 n.8 (2d Cir. 2008) (“It is no accident that many of our asylum laws sprang forth

as a result of events in 1930s Europe.”). First, the asylum statute, 8 U.S.C. § 1158, provides that

any noncitizen in the U.S. has a right to apply for asylum. Second, the withholding of removal

statute, 8 U.S.C. § 1231(b)(3), provides that noncitizens “may not” be removed to a country where

their “life or freedom” would be threatened based on a protected ground. See INS v. Aguirre-

Aguirre, 526 U.S. 415, 420 (1999) (withholding is mandatory upon meeting statutory criteria).

Third, protections under the Convention Against Torture (“CAT”) prohibit returning noncitizens

to a country where it is more likely than not that they would face torture. See Foreign Affairs

Reform and Restructuring Act of 1998 (“FARRA”) § 2242(a), Pub. L. No. 105-207, Div. G. Title

XXI, 112 Stat. 2681 (codified at 8 U.S.C. § 1231 note); 8 C.F.R. § 1208.16-.18.

III.   The AEA Proclamation and the Unlawful Removals

       On March 14, the President signed the AEA Proclamation at issue here. It provides that

“all Venezuelan citizens 14 years of age or older who are members of TdA, are within the United




                                                7
         Case 3:25-cv-00171          Document 3-1        Filed 05/10/25      Page 8 of 28




States, and are not actually naturalized or lawful permanent residents of the United States are liable

to be apprehended, restrained, secured, and removed as Alien Enemies.” See Proclamation.

Although the AEA calls for a “public proclamation,” 50 U.S.C. § 21, the administration did not

make the invocation public until around 3:53 p.m. on March 15. As set forth more fully in Judge

Boasberg’s opinion, even prior to the Proclamation’s publication, the government sought to

remove individuals. J.G.G. v. Trump, No. 1:25-cv-766-JEB (D.D.C. Mar. 18, 2025), ECF No. 28-

1 (Cerna Decl.) ¶ 5; J.G.G., 2025 WL 890401, at *3 (D.D.C. Mar. 24, 2025) (noting that prior to

publication of Proclamation, and after a lawsuit was filed against the removals, it appeared that

“the Government . . . was nonetheless moving forward with its summary-deportation plans.”).

       In addition to claiming that a criminal gang during peacetime satisfies the AEA’s statutory

predicates, the Proclamation does not provide any process for individuals to contest that they are

members of the TdA and do not therefore fall within the terms of the Proclamation. The

Proclamation also supplants the removal process under the congressionally enacted immigration

laws, which, among other things, provide a right to seek protection from persecution and torture.

See, e.g., 8 U.S.C. §§ 1158, 1231(b)(3), 1231 note.

       To date, at least 137 Venezuelan men have been removed under the Proclamation and are

now in El Salvador in one of the most notorious prisons in the world, possibly for the rest of their

lives. Whether most (or perhaps all) of that group lacks ties to TdA remains to be seen, because

Respondents secretly rushed the men out of the country and have provided no information about

them. But evidence since these individuals were sent to El Salvador flights on March 15

increasingly shows that many were not “members” of TdA. See J.G.G., No. 1:25-cv-766-JEB,

ECF No. 67-21 (Sarabia Roman Decl., Exhs. 4-20) (media reports regarding evidence

contradicting gang allegations). Such false accusations are particularly devastating given




                                                  8
         Case 3:25-cv-00171          Document 3-1        Filed 05/10/25      Page 9 of 28




Petitioner’s strong claims for relief under our immigration laws. See Exh. B (Babaie Decl.) ¶¶ 3-

4.

       The government’s errors are unsurprising, given the methods it is employing to identify

members of TdA. The “Alien Enemy Validation Guide” that the government has used to ascertain

alien enemy status, requires ICE officers to tally points for different categories of alleged TdA

membership characteristics. J.G.G., No. 1:25-cv-766-JEB, ECF No. 67-21 (Sarabia Roman Decl.,

Exh. 1). The guide relies on a number of dubious criteria, including physical attributes like “tattoos

denoting membership/loyalty to TDA” and hand gestures, symbols, logos, graffiti, or manner of

dress. But experts who study the TdA have explained how none of these physical attributes are

reliable ways of identifying gang members. Id. at 67-3 (Hanson Decl.) ¶¶ 22-24, 27; id. at 67-4

(Antillano Decl.) ¶ 14; id. at 67-12 (Dudley Decl.) ¶ 25.

       Experts on El Salvador have also explained how those removed there face grave harm and

torture at the Salvadoran Terrorism Confinement Center (“CECOT”), including electric shocks,

beating, waterboarding, and use of implements of torture on detained people’s fingers. See J.G.G.,

145 S. Ct. at 1010–11 (Sotomayor, J., dissenting) (“inmates in Salvadoran prisons are highly likely

to face immediate and intentional life-threatening harm at the hands of state actors (internal

quotation marks omitted)); see also J.G.G., No. 1:25-cv-766-JEB, ECF No. 44-4 (Bishop Decl.)

¶¶ 21, 33, 37, 39, 41; id. at 44-3 (Goebertus Decl.) ¶¶ 8, 10, 17. These abusive conditions are life

threatening, as demonstrated by the hundreds of people who have died in Salvadoran prisons.

J.G.G., No. 1:25-cv-766-JEB, ECF No. 44-3 (Goebertus Decl.) ¶ 5; id. at 44-4 (Bishop Decl.) ¶¶

43–50. Worse, those removed and detained at CECOT face indefinite detention. Id. at 44-3

(Goebertus Decl.) ¶ 3 (quoting the Salvadoran government that people held in CECOT “will never




                                                  9
          Case 3:25-cv-00171         Document 3-1       Filed 05/10/25       Page 10 of 28




leave”); Nayib Bukele, X.com post (Mar. 16, 2025, 5:13AM ET) (detained people “were

immediately transferred to CECOT . . . for a period of one year (renewable)”). 4

IV.      Petitioner

         Petitioner M.A.P.S. is a 33-year-old Venezuelan national who is detained at El Paso

Processing Center in El Paso, Texas pursuant to the Alien Enemies Act and is at risk of imminent

removal. Exh. B (Babaie Decl.) ¶¶ 2, 7, 13. M.A.P.S. fled Venezuela after repeated harassment,

assault and intimidation on the basis of political persecution. Id. ¶ 3. She entered the United States

with a CBP One appointment in April 2023, was later granted Temporary Protected Status that is

still in place, and is seeking asylum, withholding of removal, and protection under the Convention

Against Torture from Venezuela. Id. ¶¶ 4-5. On April 9, 2025, ICE arrested her in Ohio, despite

her active Temporary Protected Status which shields her from detention. Id. ¶ 6. Sometime

thereafter, she was asked to sign documents referencing the Alien Enemies Act and TdA. Id. ¶ 7.

M.A.P.S. was told by officers the TdA allegations were because of her tattoos but she denies any

affiliation or membership with TdA. Id. ¶¶ 6-7. M.A.P.S. refused to sign the documents, and has

been detained ever since. Id. ¶ 6. She is afraid of being sent to Venezuela, El Salvador, or some

unknown third country. Id. ¶ 11.

                                       LEGAL STANDARD

         To obtain a TRO, a plaintiff “must establish that he is likely to succeed on the merits, that

he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of

equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008); see Misquitta v. Warden Pine Prairie ICE Processing Ctr.,




4
    https://perma.cc/52PT-DWMR.


                                                  10
        Case 3:25-cv-00171         Document 3-1        Filed 05/10/25      Page 11 of 28




353 F. Supp. 3d 518, 521 (W.D. La. 2018) (citing Piedmont Heights Civic Club, Inc. v. Moreland,

637 F.2d 430 (5th Cir. 1981)). In cases against the government, the third and fourth factors merge.

Texas v. United States, 809 F.3d 134, 187 n.204 (5th Cir. 2015) (citing Nken v. Holder, 556 U.S.

418, 435 (2009)).

                                          ARGUMENT

I.     Petitioner Is Likely to Succeed on the Merits.

       A.      The Proclamation Does Not Satisfy the AEA.

       The Proclamation is unprecedented, exceeding the President’s statutory authority in three

critical respects: there is no invasion or predatory incursion; no foreign government or nation; and

no process to contest whether an individual falls within the Proclamation. When the government

asserts “an unheralded power” in a “long-extant statute,” courts “greet its announcement with a

measure of skepticism.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014).

       That skepticism is well warranted here. As Judge Henderson of the D.C. Circuit stressed

in denying the government’s request for a stay of a TRO, a gang’s criminal activities do not

constitute an “invasion or predatory incursion” under the AEA and the Act is a wartime authority

meant to address “military” attacks. J.G.G. v. Trump, No. 25-5067, 2025 WL 914682, at *1-13

(D.D.C. Mar. 26, 2025). And in granting a permanent injunction against removals out of the

Southern District of Texas, Judge Rodriguez recently held that “the Proclamation’s language

cannot be read as describing conduct that falls within the meaning of ‘invasion’” or “predatory

incursion” within the AEA. J.A.V., 2025 WL 1257450, at *18. Moreover, Judge Hellerstein of the

Southern District of New York and Judge Sweeney of the District of Colorado have both also

entered preliminary injunctions against transfers and removals based on the Proclamation’s failure

to meet the necessary predicates of the AEA. See G.F.F., 2025 WL 1301052, at *1 (“since



                                                11
         Case 3:25-cv-00171         Document 3-1        Filed 05/10/25       Page 12 of 28




Respondents have not demonstrated the existence of a “war,” “invasion” or “predatory incursion,”

the AEA was not validly invoked by the Presidential Proclamation”); D.B.U., 2025 WL 1304288,

at *7 (“Petitioners are likely to succeed on the merits of their claim that the President’s invocation

of the Act ‘through the Proclamation exceeds the scope of the statute’ and is therefore unlawful”).

               1. There Is No “Invasion” or “Predatory Incursion” upon the United States.

       The Proclamation fails, on its face, to satisfy an essential statutory requirement: that there

be an “invasion or predatory incursion” directed “against the territory of the United States.” The

text and history of the AEA make clear that it uses these terms to refer to military actions indicative

of an actual or impending war. At the time of enactment, an “invasion” was a large-scale military

action by an army intent on territorial conquest. See Webster’s Dict., Invasion (1828) (“invasion”

is a “hostile entrance into the possession of another; particularly, the entrance of a hostile army

into a country for purpose of conquest or plunder, or the attack of a military force”); see also, e.g.,

J.G.G., 2025 WL 914682, at *20 (in the Constitution, “invasion” “is used in a military sense” “in

every instance”); J.A.V., 2025 WL 1257450, at *16 (“the plain, ordinary meaning of ‘invasion’

was an entry into the nation’s territory by a military force or an organized, armed force, with the

purpose of conquering or obtaining control over territory”); D.B.U., 2025 WL 1304288, at *6 (“the

word ‘invasion’ as used in the Act ‘contemplate[s] military action’” (citation omitted)). And

“predatory incursion” referred to smaller-scale military raids aimed to destroy military structures

or supplies, or to otherwise sabotage the enemy, often as a precursor to invasion and war. See

Webster’s Dict., Incursion (1828) (“incursion . . . applies to the expeditions of small parties or

detachments of an enemy’s army, entering a territory for attack, plunder, or destruction of a post

or magazine”); J.G.G., 2025 WL 914682, at *10 (“predatory incursion” is “a form of hostilities

against the United States by another nation-state, a form of attack short of war”); J.A.V., 2025 WL




                                                  12
         Case 3:25-cv-00171         Document 3-1       Filed 05/10/25      Page 13 of 28




1257450, at *16 (“the common usage of ‘predatory incursion’ . . . referenced a military force or

an organized, armed force entering a territory to destroy property, plunder, and harm individuals,

with a subsequent retreat from that territory”); D.B.U., 2025 WL 1304288, at *6 (same); G.F.F.,

2025 WL 1301052, at *10 (“‘incursion’ was understood to mean an ‘[a]ttack’ or ‘[i]nvasion

without conquest’”). The interpretive canon of noscitur a sociis confirms that the AEA’s powers

extended beyond an existing war only when war was imminent. Ludecke, 335 U.S. at 169 n.13

(“the life of [the AEA] is defined by the existence of a war”). Reading “invasion” and “predatory

incursion” in light of the neighboring term, “declared war,” highlights the express military nature

of their usage here. See Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961).

       The historical context in which the AEA was passed reinforces what Congress meant by

“predatory incursion” and “invasion.” At the time of passage, French ships were already attacking

U.S. merchant ships in U.S. See, e.g., 7 Annals of Cong. 58 (May 1797) (promoting creation of a

Navy to “diminish the probability of . . . predatory incursions” by French ships while recognizing

that distance from Europe lessened the chance of “invasion”); Act of July 9, 1798, ch. 68, 1 Stat.

578, 578 (authorizing US ships to seize “any armed French vessel” “found within the jurisdictional

limits of the United States”). Congress worried that these attacks against the territory of U.S. were

the precursor to all-out war with France. J.G.G., 2025 WL 914682, at *1 (“In 1798, our fledgling

Republic was consumed with fear . . . of external war with France.”). This “predatory violence”

by a sovereign nation led, in part, to the AEA. See Act of July 7, 1798, ch. 67, 1 Stat. 578, 578

(“[W]hereas, under authority of the French government, there is yet pursued against the United

States, a system of predatory violence”). 5



5
 At the same time, the 1798 Congress authorized the President to raise troops “in the event of a
declaration of war against the U.S., or of an actual invasion of their territory, by a foreign power,



                                                 13
        Case 3:25-cv-00171         Document 3-1        Filed 05/10/25     Page 14 of 28




       “Mass illegal migration” or criminal activities, as described in the Proclamation, plainly do

not fall within the statutory boundaries. See J.G.G., 2025 WL 914682, at *10 (observing that

“[m]igration alone [does] not suffice” to establish an “invasion” or “predatory incursion under the

AEA). On its face, the Proclamation makes no findings that TdA is acting as an army or military

force. Nor does the Proclamation assert that TdA is acting with an intent to gain a territorial

foothold in the U.S. for military purposes. And the Proclamation makes no suggestion that the U.S.

will imminently be at war with Venezuela. The oblique references to the TdA’s ongoing “irregular

warfare” within the U.S. do not suffice because the Proclamation makes clear that that term is

referring to “mass illegal migration” and “crimes”—neither of which constitute war within the

Founding Era understanding. It asserts that TdA “commits brutal crimes” with the goal of

“harming United States citizens, undermining public safety, and . . . destabilizing democratic

nations.” But these actions are not “against the territory” of the U.S. See G.F.F., 2025 WL 1301052,

at *10 (“There is nothing in the AEA that justifies a finding that refugees migrating from

Venezuela, or TdA gangsters who infiltrate the migrants, are engaged in an ‘invasion’ or ‘predatory

incursion.’”). Indeed, if mass migration or criminal activities by some members of a particular

nationality could qualify as an “invasion,” then virtually any group, hailing from any country,

could be deemed enemy aliens.

               2. The Purported Invasion Is Not by a “Foreign Nation or Government.”

       The Proclamation also fails to assert that any “foreign nation or government” within the

meaning of the Act is invading the United States. Put simply, the Proclamation never finds that



or of imminent danger of such invasion.” Act of May 28, 1798, ch. 47, 1 Stat. 558. As Judge
Henderson noted, “[t]his language bears more than a passing resemblance to the language of the
AEA, which Congress enacted a mere thirty-nine days later. J.G.G., 2025 WL 914682, at *9. As
such, the historical context makes plain that Congress was concerned about military incursions by
the armed forces of a foreign nation that constitute or imminently precede acts of war.


                                                14
        Case 3:25-cv-00171         Document 3-1        Filed 05/10/25     Page 15 of 28




TdA is a foreign “nation” or “government.” Instead, the Proclamation asserts that “[o]ver the years,”

the Venezuelan government has “ceded ever-greater control over their territories to transnational

criminal organizations.” But the Proclamation notably does not say that TdA operates as a

government in those regions. In fact, the Proclamation does not even specify that TdA currently

controls any territory in Venezuela.

       Moreover, when a “nation or government” is designated under the AEA, the statute unlocks

power over that nation or government’s “natives, citizens, denizens, or subjects.” 50 U.S.C. § 21.

Countries have “natives, citizens, denizens, or subjects.” By contrast, criminal organizations, in

the Proclamation’s own words, have “members.” Proclamation § 1 (“members of TdA”). And it

designates TdA “members” as subject to AEA enforcement—but “members” are not “natives,

citizens, denizens, or subjects.” That glaring mismatch underscores that Respondents are

attempting not only to use the AEA in an unprecedented way, but also in a way that Congress

never permitted—as a mechanism to address, in the government’s own words, a non-state actor.

Venezuela has natives, citizens, and subjects, but TdA (not Venezuela) is designated under the

Proclamation. 6 Even as the Proclamation singles out certain Venezuelan nationals, it does not

claim that Venezuela is invading the United States. And, as the President’s own CIA Director

recently testified, the intelligence community has no assessment that says the U.S. is at war with

or being invaded by Venezuela. Ryan Goodman, Bluesky (Mar. 26, 2025). 7 The AEA requires the



6
  Moreover, the AEA presumes that a designated nation possesses treaty-making powers. See 50
U.S.C. § 22 (“stipulated by any treaty . . . between the United States and the hostile nation or
government”). Nations—not criminal organizations—are the entities that enter into treaties. See,
e.g., Medellin v. Texas, 552 U.S. 491, 505, 508 (2008) (treaty is “a compact between independent
nations” and “agreement among sovereign powers”); Holmes v. Jennison, 39 U.S. 540, 570-72
(1840) (similar).
7
  https://bsky.app/profile/rgoodlaw.bsky.social/post/3llc4wzbkr22k (Q: “Does the intelligence
community assess that we are currently at war or being invaded by the nation of Venezuela?” A:
“We have no assessment that says that.”).

                                                15
         Case 3:25-cv-00171         Document 3-1        Filed 05/10/25       Page 16 of 28




President to identify a “foreign nation or government” that is invading or engaging in an invasion

or incursion. Because it does not, the Proclamation fails on its face. See D.B.U., 2025 WL 1304288,

at *7 (“Respondents acknowledge TdA is a ‘nonstate actor’ and that TdA ‘itself is [not] itself a

‘nation.’ This acknowledgment starts and stops the Court’s discussion of what ‘foreign nation’ or

‘government’ mean under the Act.”) (cleaned up).

       Further, the AEA’s historical record confirms that it was intended to address conflicts with

foreign sovereigns, not criminal gangs like TdA. See 5 Annals of Cong. 1453 (Apr. 1798) (“[W]e

may very shortly be involved in war[.]”); John Lord O’Brian, Special Ass’t to the Att’y Gen. for

War Work, Civil Liberty in War Time, at 8 (Jan. 17, 1919) (“The [AEA] was passed by

Congress . . . at a time when it was supposed that war with France was imminent.”); Jennifer K.

Elsea & Matthew C. Weed, Cong. Rsch. Serv., RL3113, Declarations of War and Authorizations

for the Use of Military Force 1 (2014) (Congress has never issued a declaration of war against a

nonstate actor). If Respondents were allowed to designate any group with ties to officials as a

foreign government, and courts were powerless to review that designation, any group could be

deemed a government, leading to an untenable and overbroad application of the AEA.

       The Proclamation half-heartedly attempts to link TdA to Venezuela by suggesting only that

TdA is “supporting,” “closely aligned with,” or “has infiltrated” the Maduro regime. See

Proclamation. But those characterizations, even if accepted, are insufficient to establish that a

“foreign government or nation” is itself invading the United States. Thus, this court need not go

beyond the face of the Proclamation to find that it fails to satisfy the statutory preconditions of the

AEA. In any event, experts are in accord that it is “absolutely implausible that the Maduro regime

controls TdA or that the Maduro government and TdA are intertwined.” J.G.G., No. 1:25-cv-766-

JEB, ECF No. 67-3 (Hanson Decl.) ¶17; id. at 67-4 (Antillano Decl.) ¶ 13; id. at 67-12 (Dudley




                                                  16
          Case 3:25-cv-00171       Document 3-1        Filed 05/10/25     Page 17 of 28




Decl.) ¶¶ 2, 21. As one expert who has done numerous projects for the U.S. government, including

on the topic of TdA, explained, the Proclamation’s characterization of the relationship between the

Venezuelan state and TdA with respect to TdA’s activities in the United States is “simply incorrect.”

Id. at 67-12 (Dudley Decl.) ¶¶ 5, 17-18. The President’s own intelligence agencies reached that

same conclusion prior to his invocation of the AEA. See id. at 67-21 (Sarabia Roman Decl., Exh.

19) (“shared judgment of the nation’s spy agencies” is “that [TdA] was not controlled by the

Venezuelan government”); see also National Intelligence Council, Sense of the Community

Memorandum, SOCM 2025-11374, Venezuela: Examining Regime Ties to Tren de Aragua (Apr.

7, 2025). 8

         B.     Summary Removals Without Notice, a Meaningful Opportunity to Challenge
                “Alien Enemy” Designations, or the Right of Voluntary Departure Violate
                the AEA and Due Process.

         As the Supreme Court has now made clear, the government must provide Petitioner and

the putative class with notice “within a reasonable time and in such a manner as will allow them

to actually seek” relief from summary removals under the Proclamation. J.G.G., 2025 WL 102409,

at *2 (“detainees subject to removal orders under the AEA are entitled to notice and an opportunity

to challenge their removal.”).

         Despite these clear instructions, it has been revealed that the government has adopted a

wholly inadequate notice process. It has created an English-only “notice” of “alien enemy”

designation, which does not indicate there is a right to challenge the designation or even consult

with an attorney. Exh. A (Cisneros Decl.) at 5. The government maintains this document need only

be given 12 hours before removal to satisfy the Supreme Court’s command for due process and

“reasonable time.” The government believes it may proceed with removal after 12 hours, unless a



8
    https://perma.cc/PU5K-78LH.


                                                17
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 18 of 28




person “indicate[s] or express[es] an intent to file a habeas petition.” Id. ¶ 11. If a person who

indicates such an intent “does not file such a petition within 24 hours, then ICE may proceed with

the removal.” Id. Furthermore, even when a person does file such a petition, the government still

does not agree to wait for those proceedings to conclude before removal absent a TRO from the

reviewing court. Id. ¶ 12 (“Although there may be fact-specific exceptional cases, in a general case,

ICE will not remove under the AEA an alien who has filed a habeas petition while that petition is

pending. However, ICE may reconsider that position in cases where a TRO has been denied and

the habeas proceedings have not concluded within a reasonable time.”).

       “‘It is well established that the Fifth Amendment entitles [noncitizens] to due process of

law’ in the context of removal proceedings.” J.G.G., 145 S. Ct. at 1006; see also G.F.F., 2025 WL

1301052, at *7. This notice process appears designed to deprive designated individuals of a

meaningful opportunity to challenge their designations. The timeframe alone makes it effectively

impossible to challenge an AEA designation without an attorney given the constraints on accessing

the courts from detention. And the government will only pause removal plans if a designated

individual says they would like to file “habeas,” an esoteric legal proceeding that is not mentioned

by name anywhere on the notice. For represented individuals, including Petitioner, there is

apparently no requirement that such notice be served on counsel.

       At a minimum, the notice must be translated into a language that individuals can understand

(for Petitioner, Spanish). Most importantly, there must be sufficient time for individuals to seek

judicial review, if they choose, as well as the factual bases for the allegations. G.F.F., 2025 WL

1301052, at *7 (citing Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950));

see also Sanchez Puentes, 2025 WL 1203179, *17. As during World War II, that notice must be




                                                 18
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 19 of 28




at least 30 days in advance of any attempted removal. And it must be provided to undersigned

counsel so that no individual is mistakenly removed. See, e.g., Abrego Garcia, 145 S. Ct. at 1018.

       C.      The Proclamation Violates the Specific Protections that Congress Established
               for Noncitizens Seeking Humanitarian Protection.

       The Proclamation is unlawful for an independent reason: it overrides statutory protections

for noncitizens seeking relief from torture by subjecting them to removal without meaningful

consideration of their claims. Congress codified the U.N. Convention against Torture and Other

Cruel, Inhuman, or Degrading Treatment or Punishment (“CAT”) to ensure that noncitizens have

meaningful opportunities to seek protection from torture. See 8 U.S.C. § 1231 note; C.F.R. §§

208.16-.18. CAT categorically prohibits returning a noncitizen to any country where they would

more likely than not face torture. 8 U.S.C. §1231 note. CAT applies regardless of the mechanism

for removal. The D.C. Circuit recently addressed a similar issue in Huisha-Huisha v. Mayorkas,

reconciling the Executive’s authority under a public-health statute, 42 U.S.C. § 265, with CAT’s

protections. 27 F.4th 718 (D.C. Cir. 2022). Because § 265 was silent about where noncitizens could

be expelled, and CAT explicitly addressed that question, the court held no conflict existed. Id.

Both statutes could—and therefore must—be given effect. Id. at 721, 731-32. This case is on all

fours with Huisha-Huisha, because the AEA and CAT must be harmonized by applying CAT’s

protections to AEA removals. Despite this clear statutory framework, the Proclamation overrides

all of the INA’s protections and deprives those designated under the Proclamation with any

opportunity to seek protection against being sent to a place where they will be tortured. See J.G.G.,

2025 WL 890401, at *15 (“CAT could stand as an independent obstacle” to “potential torture

should Plaintiffs be removed to El Salvador and incarcerated there.”)

       The AEA can similarly be harmonized with other subsequently enacted statutes specifically

designed to protect noncitizens seeking asylum and withholding. See Refugee Act of 1980, Pub.



                                                 19
         Case 3:25-cv-00171         Document 3-1        Filed 05/10/25       Page 20 of 28




L. No. 96-212, 94 Stat. 102 (1980) (asylum and withholding); 8 U.S.C. §§ 1158 (asylum),

1231(b)(3) (withholding of removal). Congress has unequivocally declared that “[a]ny alien who

is physically present in the United States or who arrives in the United States . . . irrespective of

such alien’s status, may apply for asylum.” 8 U.S.C. § 1158(a)(1). Likewise, the withholding of

removal statute explicitly bars returning a noncitizen to a country where their “life or freedom”

would be threatened based on a protected ground. Id. § 1231(b)(3)(A). These humanitarian

protections were enacted in the aftermath of World War II, when the United States joined other

countries in committing to never again turn our backs on people fleeing persecution and torture.

Sadako Ogata, U.N. High Comm’r for Refugees, Address at the Holocaust Memorial Museum

(Apr. 30, 1997). 9 A President invoking the AEA cannot simply sweep away these protections.

       D.      The Proclamation Violates the Procedural Requirements of the INA

       Since the last invocation of the AEA more than 80 years ago, Congress has carefully

specified the procedures by which noncitizens may be removed. The INA leaves little doubt that

its procedures must apply to every removal, unless otherwise specified by that statute. It directs:

“Unless otherwise specified in this chapter,” the INA’s comprehensive scheme provides “the sole

and exclusive procedure for determining whether an alien may be . . . removed from the United

States.” 8 U.S.C. § 1229a(a)(3); see also United States v. Tinoso, 327 F.3d 864, 867 (9th Cir. 2003)

(“Deportation and removal must be achieved through the procedures provided in the INA.”).

Indeed, Congress intended for the INA to “supersede all previous laws with regard to deportability.”

S. Rep. No. 82-1137, at 30 (Jan. 29, 1952). 10



9
  https://perma.cc/X5YF-K6EU.
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   One of the processes otherwise specified in the INA is the Alien Terrorist Removal Procedure
at 8 U.S.C. § 1531 et seq. The Attorney General may opt to use this when she has classified
information that a noncitizen is an “alien terrorist.” Id. § 1533(a)(1). But even that process requires



                                                  20
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 21 of 28




       Congress was aware that alien enemies were subject to removal in times of war or invasion

when it enacted the INA. See Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990) (courts presume

Congress drafts statutes with full knowledge of existing law). Indeed, the AEA was invoked just a

few years before passage of the 1952 INA. With this awareness, Congress provided that the INA

contains the “sole and exclusive” procedures for removal and declined to carve out AEA removals

from standard immigration procedures, even as it expressly excepted other groups of noncitizens,

including those who pose security risks. See, e.g., 8 U.S.C. § 1531 et seq. (establishing fast-track

proceedings for noncitizens posing national security risks). By ignoring the INA’s role as the “sole

and exclusive” procedure for determining whether a noncitizen may be removed, the Proclamation

unlawfully bypasses the mandated congressional scheme and usurps Congress’s Article I power

in the process.

II.    Petitioner and the Class Face Imminent Irreparable Harm.

       In the absence of a TRO, Petitioner and the putative class—who are detained and are

alleged, incorrectly, to be associated with TdA—are at imminent risk of summary removal to

places, such as El Salvador, where they face life-threatening conditions, persecution, and torture.

See supra; see also J.G.G., 2025 WL 1024097, at *5 (Sotomayor, J., dissenting) (“[I]nmates in

Salvadoran prisons are ‘highly likely to face immediate and intentional life-threatening harm at

the hands of state actors.’”); D.B.U. v. Trump, No. 1:25-CV-01163-CNS, 2025 WL 1163530, at

*13 (D. Colo. Apr. 22, 2025) (“Absent a TRO, Petitioner faces the risk of being deported—perhaps

wrongfully deported—under the Act and Proclamation in violation of their constitutional rights.”).

That easily constitutes irreparable harm. See Tesfamichael v. Gonzales, 411 F.3d 169, 178 (5th Cir.




notice, a public hearing, provision of counsel for indigents, opportunity to present evidence, and
individualized review by an Article III judge. Id. §§ 1532(a), 1534(a)(2), (b), (c)(1)-(2).


                                                21
         Case 3:25-cv-00171         Document 3-1        Filed 05/10/25       Page 22 of 28




2005) (irreparable harm” where petitioners face “forced separation and likely persecution” “if

deported”); Duran-Ortega v. U.S. Att’y Gen., No. 18-14563-D, (11th Cir. Nov. 29, 2018) (Martin,

J., concurring) (irreparable harm where petitioner would likely “be physically harmed if . . .

removed to El Salvador”); Huisha-Huisha, 27 F.4th at 733 (irreparable harm exists where

petitioners “expelled to places where they will be persecuted or tortured”); see also J.G.G., 2025

WL 890401, at *16 (“[T]he risk of torture, beatings, and even death clearly and unequivocally

supports a finding of irreparable harm” if Venezuelans are removed under the AEA Proclamation

to El Salvador); G.F.F., 2025 WL 1301052, at *11 (“[A]bsent a preliminary injunction, Petitioners

would be removed from the United States to CECOT, where they would endure abuse and

inhumane treatment with no recourse to bring them back. If that is not irreparable harm, what is?”).

       And Petitioner and putative class members may never get out of these prisons, particularly

considering the government’s position that once it sends a person to CECOT, even though

detention there continues at the government’s request, the government is powerless to secure their

release and return. See J.G.G., 145 S. Ct. at 1101 (Sotomayor, J., dissenting) (noting government’s

position that “even when it makes a mistake, it cannot retrieve individuals from the Salvadoran

prisons to which it has sent them”); Abrego Garcia v. Noem, No. 25-1404, 2025 WL 1135112, at

*2 (4th Cir. Apr. 17, 2025) (“both the United States and the El Salvadoran governments disclaim

any authority and/or responsibility to return” unlawfully removed noncitizen); Arguelles v. U.S.

Att’y Gen., 661 F. App’x 694, 716 (11th Cir. Nov. 23, 2016) (“[I]n Nken, the Supreme Court told

us removal from the United States [after entry of a removal order] is not categorically irreparable

because removed petitioners ‘who prevail [in a petition for review] can be afforded effective relief

by facilitation of their return.’ 556 U.S. 418, 435. But . . . it is implicit in this rule that removal




                                                  22
         Case 3:25-cv-00171           Document 3-1     Filed 05/10/25      Page 23 of 28




does constitute irreparable harm when facilitation of a removed petitioner’s return will not be

possible.” (emphasis in original)).

       Even if the government instead removes Petitioner or putative class members to Venezuela,

they face serious harm there, too. For instance, M.A.P.S. fled Venezuela for the very purpose of

escaping persecution there and has a pending asylum case on that basis. Exh. B (Babaie Decl.) ¶¶

3-4. Specifically, M.A.P.S. was intimidated and attacked for her political opposition to the

government, including by police, and she fears persecution or torture on the basis of her political

opinion. Id. ¶ 3. And returning to Venezuela labeled as a gang member by the U.S. government

only increases the danger, as she will face heightened scrutiny from Venezuela’s security agency,

and possibly even violence from rivals of TdA. J.G.G., No. 1:25-cv-766-JEB, ECF No. 67-3

(Hanson Decl.) ¶ 28.

       Not only do Petitioner and the putative class face grave harm, thus far the government has

tried to execute removals without any due process. See Huisha-Huisha v. Mayorkas, 560 F. Supp.

3d 146, 172 (D.D.C. 2021) (irreparable harm where plaintiffs “face the threat of removal prior to

receiving any of the protections the immigration laws provide”), aff’d in part and rev’d in part, 27

F.4th 718 (D.C Cir. 2022). Although the Supreme Court has now made clear that meaningful notice

is required under the AEA, J.G.G., 145 S. Ct. at 1006, Respondents take the position that they may

provide English-only, plainly inadequate notice on a Friday night and execute removal—without

a removal order—within 12 hours unless a designated individual has counsel available to file a

habeas petition while the Court is closed. See Exh. A (Cisneros Decl.) ¶¶ 11-12. As such, there

remains an unacceptably high risk that the government will deport individuals who are not in fact

members of TdA, including Petitioner and putative class members. See G.F.F., 2025 WL 1301052,




                                                23
         Case 3:25-cv-00171         Document 3-1          Filed 05/10/25   Page 24 of 28




at *7 (“the risk of erroneous deprivation of an alien’s liberty interest, without a ‘full examination

and hearing’ . . . as required by the AEA, is great.”).

III.   The Balance of Equities and Public Interest Weigh Decidedly in Favor of a
       Temporary Restraining Order.

       The balance of equities and public interest merge in cases against the government. See

Nken, 556 U.S. at 436. Here, the balance overwhelmingly favors Petitioner and the putative class.

The public has a critical interest in preventing wrongful removals, especially where it could mean

a lifetime sentence in a notorious foreign prison. See Nken, 556 U.S. at 436; see also Mississippi

Women’s Med. Clinic v. McMillan, 866 F.2d 788, 795 (5th Cir. 1989) (“[A]ny denial of the [legal]

right . . . would be an irreparable harm.”); Nunez v. Boldin, 537 F. Supp. 578, 587 (S.D. Tex. 1982)

(protecting people who face persecution abroad “goes to the very heart of the principles and moral

precepts upon which this country and its Constitution were founded”). That is especially so given

the government’s position that it will not obtain the release of individuals mistakenly sent to the

notorious Salvadoran prison. Supra.

       Petitioner and the putative class do not contest Respondents’ ability to prosecute criminal

offenses, detain noncitizens, and remove noncitizens under the immigration laws. Cf. J.G.G., 2025

WL 914682, at *30 (Henderson, J., concurring) (“The Executive remains free to take TdA

members off the streets and keep them in detention[, and] can also deport alleged members of TdA

under the INA[.]”); G.F.F., 2025 WL 1301052, at *12 (“[N]othing in this Order shall be construed

to bar the removal, or release from immigration detention, of Petitioners pursuant to proceedings

held under the Immigration and Nationality Act.”). Thus, Respondents cannot show how the

government’s interests overcome irreparable injury to Petitioner and the putative class.




                                                 24
         Case 3:25-cv-00171        Document 3-1        Filed 05/10/25      Page 25 of 28




IV.    The All Writs Act Confers Broad Power to Preserve the Integrity of Court
       Proceedings.

       In addition to this Court’s equitable powers, this is a textbook case for use of the All Writs

Act (“AWA”), which provides courts a powerful tool to “maintain the status quo by injunction

pending review of an agency’s action through the prescribed statutory channels.” F.T.C. v. Dean

Foods Co., 384 U.S. 597, 604 (1966); 28 U.S.C. § 1651(a); Adams v. U.S. ex rel. McCann, 317

U.S. 269, 273 (1942) (“a federal court may avail itself of all auxiliary writs as aids in the

performance of its duties. . . to achieve the ends of justice entrusted to it”); J.A.V. v. Trump, No.

1:25-CV-072, 2025 WL 1064009, at *1 (S.D. Tex. Apr. 9, 2025) (“A federal court has the power

under the All Writs Act to issue injunctive orders in a case even before the court’s jurisdiction has

been established.”). If Petitioner and members of the putative class are illegally sent to a foreign

country, and El Salvador assumes jurisdiction, the government will argue, as it already has, that

this Court will no longer have jurisdiction to remedy the unlawful use of the AEA. See Resp. to

Order to Show Cause, J.G.G., No. 25-cv-766-JEB (D.D.C. Mar. 25, 2025), ECF No. 58 at 12

(government asserting “once the flights were outside the United States, the President did not need

to rely on that Proclamation or Act to justify transferring members of a designated foreign terrorist

group to a foreign country”); Resp. to Plfs.’ Mot. for Additional Relief, Abrego Garcia v. Noem,

No. 8:25-cv-951-PX (D. Md. Apr. 13, 2025), ECF No. 65 at 3-4 (government arguing that “[t]he

federal courts have no authority to direct the Executive Branch to . . . engage with a foreign

sovereign in a given manner,” to facilitate return of wrongfully deported individual).

       Whereas a traditional TRO requires a party to state a claim, an injunction based on the

AWA requires only that a party identify a threat to the integrity of an ongoing or prospective

proceeding, or of a past order or judgment. See ITT Cmty. Dev. Corp. v. Barton, 569 F.2d 1351,

1359 (5th Cir. 1978) (court may enjoin “conduct which, left unchecked, would have . . . the


                                                 25
         Case 3:25-cv-00171         Document 3-1        Filed 05/10/25       Page 26 of 28




practical effect of diminishing the court’s power to bring the litigation to a natural conclusion”);

In Re: Nat’l Football League Players Concussion Injury Litigation, 923 F.3d 96, 109 (3d Cir.

2019) (“[U]nder the All Writs Act, action is authorized to the extent it is ‘necessary or appropriate’

to enforce a Court’s prior orders. . . Or, as this Court has explained it, there is authority under the

Act to issue an injunction where such relief is ‘necessary, or perhaps merely helpful.’”) (citing 28

U.S.C. § 1651 and Pittsburgh-Des Moines Steel Co. v. United Steelworkers of Am., AFL-CIO, 633

F.2d 302, 307 (3d Cir. 1980)). Courts have explicitly relied upon the AWA in order to prevent

even a risk that a respondent’s actions will diminish the court’s capacity to adjudicate claims before

it. See Michael v. INS, 48 F.3d 657, 664 (2d Cir. 1995) (staying an order of deportation “in order

to safeguard the court’s appellate jurisdiction” and preserve its ability to hear subsequent appeals

by the petitioner). Thus, multiple courts across the country have issued TROs in this context where

petitioners faced the imminent risk of transfer and removal under the AEA, even when they had

not yet received a designation notice. See, e.g., D.B.U., 2025 WL 1163530, at *4; A.S.R. v. Trump,

No. 3:25-CV-00113-SLH, 2025 WL 1122485, at *1 (W.D. Pa. Apr. 15, 2025); Order, Y.A.P.A. v.

Trump, No. 4:25-cv-144-CDL-CHW (M.D. Ga. May 1, 2025), ECF No. 13.

V.     The Court Should Not Require Petitioner to Provide Security.

        The Court should not require a bond under Fed. R. Civ. P. 65. That "is a matter for the

discretion of the trial court," and a district court "may elect to require no security at all." Kaepa,

Inc. v Achilles Corp., 76 F.3d 626cisc, 628 (5th Cir. 1996). The Fifth Circuit has approved the

exercise of this discretion to require no security in cases brought by indigent people and/or public-

interest litigation. See, e.g., City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084,

1094 (5th Cir. 1981); Steward v. West, 449 F.2d 324, 325 (5th Cir. 1971). Alternatively, the Court

should impose a nominal bond of $1.




                                                  26
       Case 3:25-cv-00171        Document 3-1       Filed 05/10/25     Page 27 of 28




                                      CONCLUSION

      The Court should grant a TRO as to Petitioner and the putative class.

Dated: May 10, 2025                                Respectfully submitted,

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                                              27
        Case 3:25-cv-00171        Document 3-1   Filed 05/10/25      Page 28 of 28




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                                                 *Pro hac vice applications
                                                 forthcoming




                                           28
